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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 119, Motion to Continue Sentencing, filed by

Defendant Isreal Travis Bishop. The motion is granted, and sentencing is hereby reset for

Tuesday, June 29, 2007, at 10:30 a.m.



       DONE AND ORDERED this             15th day of May, 2007


                                        s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
